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  13
                          UNITED STATES DISTRICT COURT
  14
                        CENTRAL DISTRICT OF CALIFORNIA
  15
  16
     NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRC
  17 INC., a California Corporation,
  18                                          JOINT APPLICATION TO
                  Plaintiff,                  CONTINUE FILING DEADLINES
  19
  20        v.                                The Hon. Christina A. Snyder
  21 INTERFOCUS, INC. d.b.a.
  22 www.patpat.com, a Delaware
     Corporation; CAN WANG, and
  23 individual, and DOES 1-10, inclusive.,
  24
                  Defendants.
  25
  26
     INTERFOCUS, INC. d.b.a.
  27
     www.patpat.com, a Delaware
  28 Corporation; CAN WANG, an

                  JOINT APPLICATION TO CONTINUE FILING DEADLINES
Case 2:20-cv-11181-CAS-JPR Document 93 Filed 10/10/22 Page 2 of 3 Page ID #:1705




   1 individual, and DOES 1-10, inclusive,
   2
                   Counterclaim Plaintiffs,
   3
            v.
   4
   5 NEMAN BROTHERS & ASSOC.,
   6 INC., a California Corporation,
   7               Counterclaim Defendant.
   8
   9
  10 TO THIS HONORABLE COURT, AND ALL PARTIES HEREIN:
  11        Due to health issues involving Plaintiff’s counsel, Plaintiff Neman Brothers,
  12 Inc. (“Neman Brothers”) and Defendant InterFocus, Inc. (“InterFocus”) jointly
  13 apply to extend for two weeks the deadlines this Court previously set to submit
  14 supplemental briefing herein.
  15        This Court on August 15, 2022 ordered that Interfocus file a supplemental
  16 brief on or before October 11, 2022, that Neman Brothers file any responsive brief
  17 on or before November 1, 2022, and that Interfocus file any reply on or before
  18 November 15, 2022. (See Dkt. No. 90.)
  19        Neman Brothers has advised that its counsel was recently injured while
  20 visiting Korea, has undergone surgery there, and will not be released able to return
  21 to the United States until on or about October 27, 2022.
  22        Neman Brothers and InterFocus, through their respective counsel, therefore
  23 jointly request that this Court enter orders continuing for two weeks the briefing
  24 schedule this Court recently established as follows:
  25        1) Allowing InterFocus up to and including October 27, 2022 to file a
  26 supplemental brief herein;
  27        2) Allowing Neman Brothers up to and including November 15, 2022 to file
  28 any responsive brief herein;
                                        2
                 JOINT APPLICATION TO CONTINUE FILING DEADLINES.
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   1        3) Allowing InterFocus up to and including November 30, 2022 to file any
   2 reply brief herein.
   3        4. This joint request is not interposed for purposes of delay.
   4                                           RIMON, P.C.
   5 Dated: October 10, 2022
   6                                       By: /s/ Mark S. Lee
   7                                           Mark S. Lee
                                               Zheng Liu
   8
                                               Attorneys for Defendants and
   9                                           Counterclaim Plaintiffs
  10                                           INTERFOCUS, INC. d.b.a.
                                               www.patpat.com
  11                                           RIMON, P.C.
  12 Dated: October 10, 2022
  13
                                           By: /s/ Chan Yong Jeong
  14                                           Chan Yong Jeong
  15                                           Attorneys for Plaintiffs
                                               NEMAN BROTHERS & ASSOC., INC.
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                JOINT APPLICATION TO CONTINUE FILING DEADLINES.
